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UNITED STATES BANKRUPTCY COURI'
EASTERN DISlRICT OF NEW YORK
-----------------------------------------------------)(
Inre:
NATALIE JEAN-BAPTISTE                                             Chapter 7
                                                                  Case No. 8-13-72953-dte
                                   Debtor.
-----------------------------------------------------)(

NATALIE JEAN-BAPTISTE,                                            Adv. Pro. No. _ _ _ _ _ __



                                   Plaintiff,
-against-


EDUCATlONALCREDITMANAGEMENTCORPORATION;
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NCO FINANCIAL SERVICES, INC.,           COMPLAINT                                             "".,           L:;
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                                                                                             C)              ~
                                   Defendants.
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         NATALIE JEAN-BAPTISTE, (the "Plaintiff' or "Debtor" herein) complains oHEe abo;~::::

defendants and respectfully alleges as follows:


                                          NATURE OFTIlEACTION

            1. This is an adversary proceeding seeking a discharge of educational loans as an undue

hardship pursuant to 11 U.S.c. § 523(a)(8) and Rules 4007 and 7001(6) of the Federal Rules of

Bankruptcy Procedure.


                                         ,llJRISDICTION & VENUE

            2. This Court has jurisdiction over this action pursuant to 28 U.S.c. § 1334.
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        3. This action is a core proceeding pursuant to 28 U.S.c. § 157(b)(2)(i). This Court has

jurisdiction by virtue of the aforementioned Bankruptcy Code and Bankruptcy Rules to render a

determination as to the dischargeability of Debtor's educational loans.

                                          THEPARIIES

        4. On May 31,2013, (the "Petition" Date), Debtor filed a pro se petition for relief under

Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the Eastern District

of New York.

        5. Educational Credit Management Corporation ("ECMC") and NCO Financial Services,

Inc. ("NCO") (collectively "defendants" herein) are holders of educational loans made to

Plaintiff.

        6. Defendant, ECMC is a private nonprofit student loan guaranty with offices at 1 Irnation

Place, Building 2, Oakdale, Minnesota.

        7. Defendant, NCO is a servicing agent for lender Access Group, Inc. with an address at

5626 Frantz Road, Dublin, Ohio.

        8. Plaintiff is an individual residing at 2823 Oswego Street, North Bellmore, New York.

                                             BACKGROUND

        9. Several of the unsecured debts owed by debtor and listed in Schedule F of debtor's

bankruptcy Petition are educational loans owed to defendants, inclusive.

        10. Commencing on or about August 1, 1996, Plaintiff incurred numerous educational

loans to pay expenses and/or tuition at Fordham University and New York Law School.

        11. Defendant ECMC holds two outstanding loans in the aggregate amount of


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approximately $148,827.84 (balance as of August 1,2013). The loans bear a fixed interest rate of

3.6256% with interest accruing at a per diem rate of $11.68.

       12. Defendant NCO holds three outstanding loans with an aggregate balance of

$50,764.03 as of August 1,2013.

       13. Debtor holds a Bachelor of Arts degree in Communications & Media Studies and a

Juris Doctorate. She obtained those degrees in pursuit of her dream of becorning an

entertainment attorney. During law school, her coursework was focused on media &

entertainment law as well as intellectual property law and she held internship positions with

various entertainment law firms and media companies while completing her studies.

        14. Several months after graduating from law school in 2004, Debtor accepted her first

full-time job as a Royalty Analyst for a major record label, EMI Recorded Music. The position

paid an annual salary of $38,000. Debtor accepted the position, a position that did require a JD,

to get her foot in the door and "pay her dues" and hoped to move up the ranks at EMI and

eventually earn a higher salary.

        15. After nearly two years in the Royalty Analyst position, with no prospects of

promotion and 2% raises, Debtor left EMI for a contract position as a Royalties Paralegal with

another major record company, Warner Music Group earning $40.00 per hour. The position

lasted several months but after that contract ended, Debtor was left unemployed with limited

experience in an industry that is very difficult to break into.

        16. In November of 2006, debtor was hired a~ a contract attorney with an independent

multi-media company, Renegade Nation, Inc. and later offered a full-time position at an annual

salary of $68,000. During her time at Renegade, Debtor was under a lot of stress and her health


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began to decline significantly. In the fall of 2009, debtor relocated to Miami, Florida in attempt

to improve her physical and mental health.

        17. Debtor suffers from Sickle Cell Disease. Sickle Cell Disease is a hereditary blood

disorder which causes severe anemia, acute episodes of severe pain (crises), stroke, organ

damage and a host of other complications. Debtor also suffers from Avascular Necrosis (Aseptic

Bone Necrosis) in both hips. Avascular Necrosis is a disease where there is cellular death

(necrosis) of bone components due to an interruption of the blood supply. AVN causes severe

pain and limited range of motion in the affectedjoint(s). Due to these debilitating illnesses,

debtor has been hospitalized dozens of times since completing her education, often requiring

intensive care and has nearly died twice. Currently, the life expectancy of a Sickle Cell patient is

fifty years.

        18. Debtor is currently unemployed and has been only periodically employed in

temporary jobs since January 2010. Debtor is listed with several employment agencies and has

unsuccessfully applied for hundreds of jobs in many industries and many areas of law over the

course of her unemployment. Despite great effort, Debtor has not been able to secure full-time

employment as an attorney in nearly four years, sustaining herself only on temporary contract

jobs doing document review, making well below the average attorney's salary, spending weeks

and even months at a time without work.

        19. Debtor does not own any real property or a vehicle. Due to her limited income,

debtor was evicted from the apartment she was renting and forced to return home to live with her

aging parents. Debtor's leased vehicle was repossessed and debtor must borrow her parents' car

and rely on commuter railroad, subway and other forms of public transportation to get around.

The student loan debt is crippling and debtor is not able to maintain a minimal standard of living

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for herself. Debtor is thirty-five years of age and would like to be able to sustain herself and

someday have a famil y of her own.

       20. Despite suffering from a severe chronic illness, Debtor is currently without medical

insurance and does not qualify for public assistance such as Medicaid or disability. Debtor

currently maintains her own health through the use of natural foods, supplements, regular

exercise, prayer and meditation. Debtor pays out of pocket for any doctor visits and spends a

significant portion of her income on natural foods, herbs, supplements and holistic treatments to

maintain her health. A diet of organic, natural foods is essential to keeping Debtor's symptoms at

bay and avoiding expensive hospital stays where conventional treatments such as blood

transfusions, intravenous fluids, narcotic analgesics (painkillers) and antibiotics are administered

to manage the disease.

       21. As of the Petition Date, debtor earns an average monthly income of $2,929.72 from

temporary contract work. Debtor's monthly expenses, without any payments on her student

loans, total $2,902.00 leaving her $27.72 in excess income over expenses. Debtor's monthly

expenses are as follows:

       Rent    $400
       Cell Phone $110
       Food $800
       Clothing $200
       Laundry and Dry Cleaning $50
       Medical and Dental Expenses $100
       Transportation $553
       Recreation, Clubs, Entertainment, Newspapers, Magazines, etc. $200
       Vitamins, Herbal Supplements, Health & Beauty Products and Services $400
       Health Club Membership $89


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       These monthly expenses do not include any allowance for unanticipated or

unquantifiable expenses. Accordingly, Debtor's minimum expenses exceed her current income.

       22. The debtor's income is insufficient to provide for payment of any meaningful amount

toward debtor's student loan during the repayment period without imposing great and undue

hardship on debtor.

       23. Debtor continues to seek employment, but she faces significant employability

challenges, due to her limited substantive experience, salary history and fragile health. Debtor's

law degree has little value in the current market where there are more lawyers than there are

open positions in the legal industry. In fact, the law degree hinders debtor from obtaining non­

legal positions because she is "overqualified".

       24. In the current job market, it is unlikely that debtor will see a significant increase in

income in the near future and may be forced to pursue a career change in order to sustain herself.

In light of the mounting interest accrual, even with full-time permanent employment, income

will be insufficient to provide for payment of any meaningful amount toward debtor's

astronomical student loan debt during the repayment period without imposing great and undue

hardship on debtor.

       25. Other than the income specified herein, debtor has no current or anticipated available

income or resources with which to pay the aforementioned loans and any payments on the loans

could be made only at great and undue hardship to debtor.

       26. Debtor's health is likely to decline in the remainder of the repayment period. The

chances of developing serious complications from Sickle Cell Disease such as stroke and kidney

failure will increase as debtor ages. Debtor will likely require surgery to have her spleen and


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gallbladder removed and will require a total hip replacement for the treatment of the Avascular

Necrosis. Dialysis or kidney transplant may also become necessary. Because of the debtor's short

life expectancy, the prospect of paying her student loan for the rest of her life has caused debtor

extreme anxiety and stress. Stress and strong feelings such as frustration and depression are

triggers for Sickle Cell crises and other complications. The enormous student loan debt has been

a major source of frustration and sadness for the debtor and caused her undue hardship.

       27. Debtor has acted in good faith with respect to her student loans. She made on-time

payments on her student loans from 2004 until 2010, while she was employed full-time in the

music industry. Debtor consolidated her loans and was diligent about obtaining deferments and

forbearance when she could not make the payments.

                                       CLAIM FOR RELIEF

       28. The obligation to repay the loans has imposed an undue hardship on the debtor, within

the meaning of 11 U.S.c. § 523(a)(8).

       29. Despite debtor's good faith efforts to repay defendants, she has not been able to do so.

Debtor cannot maintain a minimal standard of living for herself if forced to repay the loans. Due

to debtor's physical health condition, it is likely that the current situation shall persist for a

significant portion, if not all, of the repayment period of the balance owed to defendants.

        30. Based on the criteria set forth in Brunner v. New York State Higher Education

Services Corp., 831 F.2d 395(2d Cir.1987) (per curiam), as adopted by the United States Court of

Appeals for the Eleventh Circuit in Hemar Ins. Corp. ofAmerica v. Cox (In re Cox), 338 F.3d

1238, 1242 (11 tho Cir.2003), the debtor qualifies for, and should be granted, a discharge of the

above-described educational loans.


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       WHEREFORE, the debtor prays that this Court enter an Order declaring the student

loan debt of the debtor to be discharged in this bankruptcy case and grant such other and further

relief as this Court may deem appropriate.




Dated: August 8, 2013
       North Bellmore, New York
                                                      Res{XXtful1y submitted,




                                                      NXf'ALIE JEAN-BAPTISTE

                                                      2823 Oswego Street
                                                      North Bellmore, NY 11710
                                                      Telephone (917) 912-1536




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    8104 (FORM 104) (08/07)

         ADVERSARY PROCEEDING COVER SHEET                                                       ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                        DEFENDANTS
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ATTORNEYS (Firm Name, Address, and Telephone No.)                                 ATTORNEYS (If Known)



PARTY (Check One Box Only)                                                        PARTY (Check One Box Only)
lO'i'Sebtor 0 U.S. TrusteelBankruptcy Admin                                       o Debtor              o U.S. TrusteelBankruptcy Admin
o Creditor  o Other                                                               ~reditor              o Other
o Trustee                                                                         o Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

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                                                                     NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as I, first alternative cause as 2, second alternative cause as 3, etc.)

     FRBP 7001(1) - Recovery of MoneylProperty                                    FRBP 7001(6) - Dischargeability (continued)
D    II-Recovery of money/property - §542 turnover of property                    D 61-Dischargeability - §523(a)(5), domestic support
D    12-Recovery of money/property - §547 preference                              ~-DiSChargeability - §523(a)(6), willful and malicious injury
D    13-Recovery of money/property - §548 fraudulent transfer                         63-Dischargeability - §523(a)(8), student loan
D    14-Recovery of money/property - other                                        D 64-Dischargeability - §523(a)(l5), divorce or separation ~ation
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  FRBP 7001(2) - Validity. Priority or Extent of Lien                             D 65-Dischargeability - other                    fli                  ;:c..            Co (::
D 21-Validity, priority or extent of lien or other interest in property
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                                                                                  FRBP 7001(7) - Injunctive Relief                                                111':::-)'::'\ .
  FRBP 7001(3) - Approval of Sale of Property                                                                                     fil                             ~~5·;(~:
                                                                                  D 7 I-Injunctive relief - imposition of stay                        0:>
D 3 I-Approval of sale of property of estate and of a co-owner - §363(h)          D   72-Injunctive relief - other               <:::
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  FRBP 7001(4) - ObjectionlRevocation of Discharge
D 41-0bjection / revocation of discharge - §727(c),(d),(e)
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  FRBP 7001(5) - Revocation of Confirmation                                       FRBP 7001(9) Declaratory Judgment
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D 51-Revocation of confirmation                                                   D 9 I-Declaratory judgment

  FRBP 7001(6) - Dischargeability                                                 FRBP 7001(10) Determination of Removed Action
D 66-Dischargeability - §523(a)(l),(l4),(l4A) priority tax claims                 DOl-Determination of removed claim or cause
D 62-Dischargeability - §523(a)(2), false pretenses, false representation,
         actual fraud                                                             Other
D 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny     D SS-SIPA Case - 15 USc. §§78aaa et,seq,
                                                                                  D   02-0ther (e,g, other actions that would have been brought in state court
                        (continued next column)
                                                                                          if unrelated to bankruptcy case)

o Check if this case involves a substantive issue of state law                    o Check if this is asserted to be a class action under FRCP 23
o Check if a jury trial is demanded in complaint                                  Demand $
Other Relief Sought
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  BI04 (FORM 104) (08/07). Page 2

                      BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
• NAME OF DEBTOR                                                      BANKRUPTCY CASE NO.
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 DISTRICT IN WHICH CASE IS PENDfNG               DfVISION OFFICE                                          NAME OF JUDGE
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                             RELATED ADVERSARY PROCEEDING (IF ANY)                                                                .J

 PLAINTIFF                                          I DEFENDANT                                         ADVERSARY
                                                                                                        PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                               DIVISION OFFICE                   NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)




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 DATE            'J                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)

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                                                         INSTRUCTIONS

            The filing of a bankruptcy case creates an "estate" under the jurisdiction ofthe bankruptcy court which consists of
  all of the property ofthe debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
  Sheet, unless the party files the adversary proceeding electronically through the court's Case ManagementlElectronic Case
  Filing system (CMIECF). (CMlECF captures the information on Form 104 as part ofthe filing process.) When completed,
  the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
  process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self­
  explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses ofthe attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. Ifthe plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
